Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 1 of 26 Page ID #:3578



    1   Cecilia O. Miller (Bar No. 211111)
        Ryan C. Caplan (Bar No. 253037)
    2   William A. Smelko (Bar No. 96970)
        PROCOPIO, CORY, HARGREAVES &
    3      SAVITCH LLP
        525 B Street, Suite 2200
    4   San Diego, California 92101
        Telephone: 619.238.1900
    5   Facsimile:     619.235.0398
        Email: cecilia.miller@procopio.com
    6            ryan.caplan@procopio.com
                 bill.smelko@procopio.com
    7
        Attorneys for Plaintiff
    8   ISANA, formerly known and having appeared as
        Celerity Educational Group
    9
                                      UNITED STATES DISTRICT COURT
   10
                                  CENTRAL DISTRICT OF CALIFORNIA
   11

   12 CELERITY EDUCATIONAL GROUP, a                             Case No. 2:17-cv-03239-RSWL-JC
      California nonprofit public benefit
   13 corporation,                                              TRIAL BRIEF OF PLAINTIFF
                                                                ISANA
   14                    Plaintiff,
   15   v.                                                      Trial:      June 4, 2019
                                                                Time:       9:00 a.m.
   16   SCOTTSDALE INSURANCE COMPANY,                           Ctrm.:      6C
        an Ohio corporation,                                    Judge:      Hon. Ronald S.W. Lew
   17
                         Defendant.                             Complaint Filed: April 28, 2017
   18                                                           Trial Date:      June 4, 2019
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                                            TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                         CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 2 of 26 Page ID #:3579



    1                                            TABLE OF CONTENTS
    2                                                                                                                          Page
    3   I.      INTRODUCTION .............................................................................................. 1
    4   II.     STATEMENT OF FACTS ................................................................................. 2
    5           A.       The Parties ................................................................................................ 2
                B.       The Scottsdale Policy ............................................................................... 3
    6           C.       The Federal Warrants and Investigation .................................................. 4
                D.       ISANA’s Tender and Scottsdale’s Response........................................... 6
    7           E.       The Coverage Action ............................................................................... 8
    8   III.    ISANA WILL PREVAIL ON ITS CLAIMS FOR BREACH OF
                CONTRACT AND BREACH OF THE IMPLIED COVENANT OF
    9           GOOD FAITH AND FAIR DEALING (BAD FAITH) .................................. 12
   10           A.       ISANA’s Breach of Contract Claims ..................................................... 12
   11                    1.       Scottsdale Breached the Policy by Failing to Pay ISANA’s
                                  Defense Fees Incurred between ISANA’s Tender and
   12                             Scottsdale’s Acceptance of a Defense ......................................... 13
   13                    2.       Scottsdale Breached the Policy by Failing to Assign Separate
                                  Counsel to Mr. Walden Until Ordered by this Court, and by
   14                             Failing to Reimburse Celerity for the Related Defense Fees
                                  Incurred ........................................................................................ 15
   15
                B.       ISANA’s Claims for Breach of the Implied Covenant of Good Faith
   16                    and Fair Dealing (Bad Faith) ................................................................. 16
   17                    1.       Scottsdale’s Refusal to Reimburse ISANA for Defense Fees
                                  Incurred since Tender Constitutes Bad Faith .............................. 17
   18
                         2.       Scottsdale’s Refusal to Appoint Separate Counsel to Mr.
   19                             Walden and Reimburse ISANA for Any Related Defense
                                  Fees Constitutes Bad Faith .......................................................... 17
   20
        IV.     SCOTTSDALE’S PROFFERED DEFENSES ARE UNAVAILING ............. 18
   21
                         1.       Mitigation of Damages ................................................................ 18
   22                    2.       Policy Terms ................................................................................ 19
                         3.       Condition Precedents ................................................................... 19
   23                    4.       “Loss” Exclusion for Punitive Damages ..................................... 19
                         5.       “Prior Written Consent” Policy Provision ................................... 20
   24                    6.       Waiver, Estoppel, and Unclean Hands ........................................ 20
                         7.       Scottsdale’s Alleged “Reasonable and Good Faith” Conduct..... 21
   25                    8.       ISANA’s Reasonable and Necessary Fees .................................. 21
                         9.       Genuine Dispute Doctrine ........................................................... 21
   26
        V.      CONCLUSION ................................................................................................ 22
   27
   28
                                                                     i
                                                     TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                                  CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 3 of 26 Page ID #:3580



    1                                             TABLE OF AUTHORITIES
    2
                                                                                                                             Page(s)
    3
         STATE CASES
    4
         Aerojet-General Corp. v. Transport Indemnity Co.
    5
            17 Cal.4th 38 (1997) ............................................................................ 14, 15, 16, 21
    6
         Buss v. Superior Court
    7      16 Cal.4th 35 (1997) ........................................................................................ 13, 14
    8
      Gribaldo, Jacobs, Jones & Assocs. v. Agrippina Versicherunges A.
    9    3 Cal. 3d 434 (1970) .............................................................................................. 20
   10 Horace Mann Ins. Co. v. Barbara B.
   11   4 Cal.4th 1076 (1993) ............................................................................................ 14

   12    Jamestown Builders, Inc. v. Gen. Star Indem. Co.
           77 Cal. App. 4th 341 (1999) .................................................................................. 20
   13

   14    Montgomery Ward & Co., Inc. v. Imperial Cas. & Indem. Co.
           81 Cal.App.4th 356 (2000) .................................................................................... 13
   15
         Montrose Chem. Corp. of Calif. v. Superior Court
   16
           6 Cal.4th 287 (1993) .............................................................................................. 13
   17
         Scottsdale Ins. Co. v. MV Transp.
   18       36 Cal.4th 643 (2005) ............................................................................................ 13
   19
      State v. Pac. Indem. Co.
   20    63 Cal.App.4th 1535 (1998) ...................................................................... 14, 16, 21
   21    FEDERAL STATUTES, REGULATIONS, AND RULES
   22
      18 U.S.C.
   23    § 641 ........................................................................................................................ 4
         § 666 ........................................................................................................................ 4
   24
         § 1031 ...................................................................................................................... 4
   25    § 1341 ...................................................................................................................... 4
         § 1957 ...................................................................................................................... 4
   26

   27
   28
                                                                        ii
                                                        TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
         DOCS 3664355.7                                                                    CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 4 of 26 Page ID #:3581



    1   OTHER AUTHORITIES
    2
      In The Matter of the Search of 2069 West Siauson Avenue, Los Angeles,
    3    California 90047
         (Case No. 17MJ00114) ............................................................................................ 4
    4

    5 In The Matter of the Search of 3415 South Sepulveda Boulevard, Suites
         570 and 580, Los Angeles, California 90034
    6    (Case No. 17MJ00113) ............................................................................................ 4
    7
      In the Matter of the Search of 3475 Meier Street, Los Angeles, CA
    8     90066
          (Case No. 17MJ0015) .............................................................................................. 4
    9
   10   Mulhearn v. Lawyers Title Ins. Corp.
          2014 WL 213554 ................................................................................................... 14
   11

   12

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                                                                  iii
                                                   TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                                CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 5 of 26 Page ID #:3582



    1           Plaintiff ISANA, formerly known and having appeared as Celerity
    2   Educational Group (“ISANA”) respectfully submits the following Trial Brief.
    3   I.      INTRODUCTION
    4           This lawsuit involves Defendant SCOTTSDALE INSURANCE COMPANY
    5   (“Scottsdale”)’s ongoing failure and refusal to honor its coverage obligations owed
    6   to its insured, ISANA, arising out of a covered claim. ISANA, a charter school
    7   serving students in Los Angeles’ most underserved communities, tendered its claim
    8   to Scottsdale over two years ago, but to date Scottsdale has failed to reimburse a
    9   dime of defense fees incurred between ISANA’s tender of the claim and Scottsdale’s
   10   acknowledgment of its defense obligations. Similarly, ISANA apprised Scottsdale
   11   over two years ago of a potential conflict of interest identified by the United States
   12   Attorney involving one of its board members (an insured person), but to date
   13   Scottsdale has failed and refused to reimburse a dime of the defense fees incurred by
   14   ISANA in providing a defense to that board member.
   15           Scottsdale has twice attempted to dispose of ISANA’s lawsuit by way of
   16   summary judgment motion, and both times this Court refused to do so. In so ruling,
   17   this Court has twice acknowledged Scottsdale’s coverage obligations owed to
   18   ISANA.           Yet, despite factual findings made by this Court that are fatal to
   19   Scottsdale’s defenses, Scottsdale remains resolute in its determination to deny
   20   ISANA the very coverage for which it bargained when it purchased a liability
   21   insurance policy from Scottsdale.1
   22           ISANA is confident a jury will agree that Scottsdale has breached its
   23   obligation under its insurance policy to provide ISANA with an immediate, full, and
   24   unconflicted defense for the underlying claim. ISANA is confident a jury will
   25   similarly agree that Scottsdale’s unreasonable refusal and delay in reimbursing
   26   1
        The Court did dismiss those components of ISANA’s claims relating to Cumis
      counsel, independent counsel for four other board members, pre-tender defense fees,
   27 Brandt fees, and punitive damages. As such, none of those claims will be presented
      at trial. Notably, these rulings only impact the amount of ISANA’s potential
   28 recovery, not ISANA’s right to such recovery.
                                                      1
                                          TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                       CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 6 of 26 Page ID #:3583



    1   ISANA for defense fees and providing a separate defense to one of ISANA’s board
    2   members rose to the level of bad faith.
    3           Based on the facts stipulated to by the parties in the Pre-Trial Conference
    4   Order filed by the Court and the prior findings of this Court, Scottsdale’s liability is
    5   all but established. Scottsdale has no good explanation as to why, after two years, it
    6   has not made a single payment towards covered defense fees.                    As a result of
    7   Scottsdale’s unreasonable failure to honor its defense obligations, ISANA has been
    8   significantly damaged in the amounts spent on defense fees as well as the
    9   reverberating effects of being forced to allocate funds from other programs it offers
   10   in underserved communities to pay the defense fees and costs owed by Scottsdale in
   11   the first instance.
   12           Scottsdale is left to argue that the defense fees incurred by ISANA, for which
   13   Scottsdale has refused to pay even a portion to this day, were unreasonable and
   14   unnecessary.       Scottsdale contends it is therefore excused from reimbursing any
   15   defense fees under the insurance policy issued to ISANA.                  However, because
   16   Scottsdale remains in breach of its policy, ISANA’s fees and costs are presumed
   17   reasonable and necessary as a matter of law.                Moreover, while ISANA has
   18   designated an expert who will testify as to the reasonable nature of its defense fees,
   19   Scottsdale has not designated any expert to rebut this testimony. Scottsdale will thus
   20   be unable to carry its burden at trial of rebutting the propriety of ISANA’s defense
   21   fees at trial. Accordingly, ISANA will prevail in establishing both Scottsdale’s
   22   liability and ISANA’s damages for the entirety of defense fees and costs incurred by
   23   ISANA in defense of the Federal Investigation, without allocation or deduction.
   24   II.     STATEMENT OF FACTS
   25           A.       The Parties
   26           ISANA is a California nonprofit public benefit corporation that operates seven
   27   California public charter schools, all of which serve students in some of the toughest
   28   neighborhoods in Los Angeles County.
                                                     2
                                         TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 7 of 26 Page ID #:3584



    1           At all relevant times during this dispute, ISANA’s board of directors was
    2   comprised of the following five members:                  Ron Ben-Yehuda, Curt Hessler,
    3   Francisco Mares, Julie Stern, and Dana Walden. Each director serves on a volunteer
    4   basis, with no compensation despite the significant time commitment.                        Kendal
    5   Turner is the CFO of ISANA.
    6           Previously, ISANA contracted with a separate non-profit, Celerity Global
    7   Development (“Global”), which provided services to ISANA and whose charitable
    8   mission included supporting ISANA. On May 31, 2017, ISANA’s board of directors
    9   authorized termination of ISANA’s contracts with Global.
   10           Scottsdale is an affiliate of Nationwide Mutual Insurance Company, which is
   11   one of the largest insurance and financial services companies in the world.
   12           B.       The Scottsdale Policy
   13           To protect itself against third party claims and to ensure its mission of
   14   providing quality education to some of the most underserved and socioeconomically
   15   disadvantaged students in Los Angeles, ISANA purchased different forms of liability
   16   insurance, including a “Business and Management Indemnity Policy – Non-Profit
   17   Organizations,” from Scottsdale (the “Policy”). Under the Policy, ISANA and its
   18   officers and directors are “Insureds.”
   19           The Policy had a policy period of July 1, 2016 to July 1, 2017 and an
   20   aggregate limit of $1 million for Insured Person and Organization Coverage. As
   21   relevant to this action, the Policy obligates Scottsdale to provide the Insureds with an
   22   immediate and unconflicted defense of any “Claim” brought against any Insured:
   23                    It shall be the duty of the Insurer and not the duty of the
                         Insureds to defend any Claim. Such duty shall exist even
   24                    if any of the allegations are groundless, false or fraudulent.
                         The Insurer’s duty to defend any Claim shall cease when
   25                    the Limit of Liability has been exhausted.
   26           A “Claim” under the Policy includes “a criminal proceeding against any
   27   Insured, commenced by a return of an indictment or similar document, or receipt or
   28   filing of a notice of charges” and “a formal governmental investigation against any
                                                        3
                                            TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                         CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 8 of 26 Page ID #:3585



    1   Insured commenced by the filing of a notice of charges, investigative order or similar
    2   document.”
    3           The Policy sets no limit with respect to the legal costs Scottsdale is obligated
    4   to pay to defend the Insureds. Instead, “[t]he limits of liability available to pay
    5   Insured Loss shall not be reduced by amounts incurred for Costs, Charges and
    6   Expenses.”        “Costs, Charges and Expenses” are defined to include “expenses
    7   incurred by any of the Insureds in defending Claims[.]” As such, the Policy limits
    8   are not eroded by Scottsdale’s payment of “Costs, Charges and Expenses,” meaning
    9   the Policy provides an unlimited defense in addition to policy limits. The Policy
   10   further obligates Scottsdale not to “unreasonably with[o]ld” its consent for defense
   11   costs incurred directly by ISANA.
   12           C.       The Federal Warrants and Investigation
   13           On January 23, 2017, the United States District Court issued three search and
   14   seizure warrants (the “Warrants”) upon application from the United States
   15   Attorney’s Office for the Central District of California (“USAO”) at locations
   16   affiliated with ISANA and Global in matters captioned In the Matter of the Search of
   17   3475 Meier Street, Los Angeles, CA 90066 (Case No. 17MJ0015), In The Matter of
   18   the Search of 3415 South Sepulveda Boulevard, Suites 570 and 580, Los Angeles,
   19   California 90034 (Case No. 17MJ00113), and In The Matter of the Search of 2069
   20   West Siauson Avenue, Los Angeles, California 90047 (Case No. 17MJ00114), all in
   21   the United States District Court, Central District of California (collectively, the
   22   “Federal Investigation”).
   23           The Warrants sought evidence of alleged violations of 18 U.S.C. § 641 (theft
   24   of government property or money); 18 U.S.C. § 666 (theft or bribery concerning
   25   programs receiving federal funds); 18 U.S.C. § 1031 (major fraud against the United
   26   States); 18 U.S.C. § 1341 (frauds and swindles); 18 U.S.C. § 1957 (engaging in
   27   monetary transactions in property derived from specified unlawful activity). The
   28   Warrants authorized, inter alia, the search and seizure of bank, accounting, and
                                                     4
                                         TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 9 of 26 Page ID #:3586



    1   corporate records of ISANA. Federal agents executed the Warrants on or about
    2   January 25, 2017.      The affidavits establishing probable cause for the Warrants
    3   remain under seal.
    4           The issuance and execution of the Warrants created a high-profile and fast-
    5   moving crisis for ISANA. ISANA needed immediate assistance communicating
    6   with the USAO, preserving privileges and information. There was also extensive
    7   media surrounding the Warrants and each of ISANA’s three authorizers, along with
    8   the schools’ accreditation commission (the Accrediting Commission for Schools
    9   Western Association of Schools and Colleges, or “WASC”), ISANA’s bank,
   10   vendors, lessors of various ISANA school sites, and others, were demanding answers
   11   and extensive information. In exigent need of experienced and trusted counsel in the
   12   aftermath and blowback of the Warrants, ISANA determined to turn to their counsel,
   13   Maurice Suh, Esq. of the Los Angeles office of Gibson, Dunn & Crutcher LLP
   14   (“Gibson Dunn”).
   15           Shortly after execution of the Warrants, ISANA entered into a new
   16   engagement agreement with Gibson Dunn with respect to the Federal Investigation.
   17   Gibson Dunn, and Mr. Suh in particular, had been counsel for ISANA since
   18   February 2015, and already had in-depth knowledge of the facts and legal arguments
   19   that ISANA believed constituted a substantial portion of the issues and conduct
   20   under investigation. Mr. Suh also has extensive experience with the USAO—the
   21   governmental agency leading the Federal Investigation.               In particular, Mr. Suh
   22   served as Deputy Chief of the Public Corruption and Government Fraud Section of
   23   the USAO for the Central District of California, where he prosecuted and supervised
   24   numerous public corruption and misconduct cases. ISANA also tendered the Federal
   25   Investigation to Scottsdale, as set forth in the next section.
   26           By correspondence dated March 14, 2017, the USAO confirmed the Federal
   27   Investigation encompassed potential violations of the above-identified federal
   28   statutes. The letter also advised ISANA’s counsel of the USAO’s belief that its
                                                     5
                                         TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
        DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 10 of 26 Page ID
                                 #:3587


 1   investigation presented a conflict of interest precluding Gibson Dunn from jointly
 2   representing ISANA and its officers and directors. In support thereof, the USAO
 3   named twenty (20) “persons of interest” with respect to the Federal Investigation,
 4   including one member of the ISANA’s board of directors, Dana Walden.
 5           While ISANA was continuing to request Scottsdale appoint Gibson Dunn as
 6   its defense counsel, on April 18, 2017, Gibson Dunn entered into a new engagement
 7   agreement with ISANA and its board members, including Mr. Walden, in which
 8   ISANA and the board members agreed to waive the potential conflicts upon
 9   informed written consent with respect to representation by Gibson Dunn specifically.
10   Mr. Walden was willing to waive the potential conflict with respect to Gibson
11   Dunn’s concurrent representation of ISANA due to Gibson Dunn’s institutional
12   knowledge, experience, and expertise in ISANA’s operations, the USAO, and the
13   Federal Investigation as well as the absence of any offer from Scottsdale to provide
14   Mr. Walden with a defense separate from the 19 officers and other persons named as
15   “persons of interest.”
16           D.       ISANA’s Tender and Scottsdale’s Response
17           On February 2, 2017, ISANA’s defense counsel tendered the Federal
18   Investigation to Chartersafe, as the named insured on the Policy. On February 7,
19   2017, ISANA’s defense counsel notified Scottsdale of the three Warrants, sought an
20   immediate defense, and sought consent to ISANA’s selection of Mr. Suh and Gibson
21   Dunn as counsel. On February 9, 2017, Jeremy Smith, an associate with Gibson
22   Dunn working on the Warrants and Federal Investigation matters, spoke briefly with
23   a Scottsdale representative. Contrary to Scottsdale’s contentions during this action,
24   Mr. Smith would not have advised “there was nothing to do” with respect to the
25   Federal Investigation at that time, as there was extensive work necessary and Mr.
26   Smith was in fact preparing for a critical meeting with the USAO the very next day.
27           Nearly a month elapsed before Scottsdale contacted ISANA and sought
28   information regarding the Warrants and the Federal Investigation. At that time
                                                  6
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 11 of 26 Page ID
                                 #:3588


 1   Scottsdale advised it was “continuing to investigate [ISANA’s] request to have
 2   Gibson Dunn handle this matter.”
 3           Just two business days after making inquiry for documents, Scottsdale advised
 4   that, because it had not received the requested information, Scottsdale would be
 5   assigning its choice of counsel, Michael J. Bowe, Esq. and Daniel A. Saunders, Esq.
 6   of Kasowitz Benson Torres LLP (“Kasowitz”) as panel counsel for all insureds—
 7   even though neither attorney cited any public charter school experience in their bios
 8   and Mr. Bowe practices in New York, not California. Scottsdale’s appointment of
 9   Kasowitz on March 7, 2017 was the first time Scottsdale acknowledged defense
10   coverage to an ISANA representative and identified the counsel who Scottsdale
11   sought to appoint.
12           Within days, ISANA responded to Scottsdale’s unilateral appointment of
13   panel counsel and sought a formal coverage determination, reconsideration of the
14   denial of ISANA’s choice of counsel, and alerted Scottsdale that substitution of
15   counsel risked significant prejudice to ISANA’s response to the Federal
16   Investigation. ISANA also noted that Scottsdale’s consent per the Policy provisions
17   shall not be “unreasonably” withheld.
18           On March 14, 2017, Scottsdale issued its first coverage position, which it
19   labeled as “preliminary,” and reservation of rights regarding the Federal
20   Investigation. Up until that point, Scottsdale had not issued a formal coverage
21   opinion.
22           On March 15, 2017, ISANA provided the USAO’s March 14th letter to
23   Scottsdale, requesting a defense for the individuals identified by the USAO as
24   “persons of interest.” Having received no response, Celerity’s counsel reiterated the
25   request on March 24, 2017.
26           On March 27, 2017, Scottsdale proposed appointing the law firm Arent Fox to
27   defend all twenty persons of interest identified by the USAO. When asked why
28   Scottsdale proposed appointing one counsel for the additionally-named persons of
                                                 7
                                     TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                     CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 12 of 26 Page ID
                                 #:3589


 1   interest, Scottsdale’s 30(b)(6) witness responded that “[i]t’s what was the appropriate
 2   thing to do for the insureds under that circumstance.”
 3           ISANA’s board of directors was advised of Scottsdale’s offer to appoint a
 4   single law firm to defend all identified “persons of interest.” However, Mr. Walden
 5   was unwilling to waive the potential conflicts of interests among the other “persons
 6   of interest” or with respect to a law firm other than Gibson Dunn.
 7           On August 3, 2017, Scottsdale appointed Arent Fox to defend two ISANA
 8   officers—Grace Canada and Kendall Turner—after they withdrew their request to be
 9   represented by Gibson Dunn.        Thereafter, upon determining there “may be a
10   conflict” between Grace Canada and other individual Insureds, Scottsdale appointed
11   Gordon & Rees to defend Ms. Canada in the Federal Investigation.
12           Following Scottsdale’s continued refusal to consent to Gibson Dunn, ISANA
13   requested Scottsdale identify separate panel counsel for each of ISANA’s board
14   members, including Mr. Walden. However, Scottsdale refused to do so, claiming
15   that an “actual conflict” did not exist necessitating separate counsel for each board
16   member, including Mr. Walden.          During his deposition, Scottsdale’s 30(b)(6)
17   witness was unable to articulate why it was apparently “the appropriate thing to do
18   for the insured” to propose separate counsel for the “persons of interest” in March of
19   2017, or to assign separate counsel for other insureds in August of 2017, but it was
20   not “the appropriate thing to do for the insured” to assign separate counsel for Mr.
21   Walden in response to ISANA’s ongoing requests throughout the Federal
22   Investigation.
23           E.       The Coverage Action
24           On April 28, 2017, ISANA filed this action seeking a judicial declaration that
25   it and its officers and directors (collectively referred to as the “Insureds” to be
26   consistent with the Policy) were entitled to independent counsel for the Federal
27   Investigation.      ISANA also brought claims for breach of contract, specific
28   performance, and breach of the implied covenant of good faith and fair dealing.
                                                 8
                                     TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                     CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 13 of 26 Page ID
                                 #:3590


 1           The parties agreed to present the issues relating to the Insureds’ rights to
 2   independent counsel by way of cross-summary judgment motions, which were
 3   decided on or about April 11, 2018. The Court denied ISANA’s claim for Cumis
 4   counsel, but granted ISANA’s claim for separate counsel for Mr. Walden. The basis
 5   for the Court’s ruling that Mr. Walden was entitled to separate counsel was the
 6   USAO’s March 14th letter, which had previously been provided to Scottsdale on
 7   March 15, 2017 and which identified a potential conflict of interest.
 8           It was only after this Court’s April 11, 2018 ruling that Scottsdale finally
 9   offered Mr. Walden separate defense counsel from any other officers or directors to
10   whom it was providing a defense. Up and until that time, Scottsdale had denied any
11   obligation to provide Mr. Walden a defense separate from any of the other Insureds.
12           On or about November 14, 2018, the parties exchanged initial expert witness
13   designations.    ISANA designated two expert witnesses:               one to testify as to
14   Scottsdale’s claims handling and bad faith, and another to testify as to the
15   reasonableness of the defense fees incurred by ISANA. Scottsdale designated a
16   single expert witness to “testify at trial regarding the standard of care Scottsdale
17   rendered in handling the claim at issue in this litigation.” Scottsdale designated no
18   other experts or topics on which it would offer expert testimony at trial.
19           On or about November 20, 2018, Scottsdale brought another motion for
20   summary judgment or, alternatively, partial summary judgment. On February 4,
21   2019, the Court granted in part and denied in part Scottsdale’s motion. In particular,
22   the Court granted Scottsdale’s motion with respect to ISANA’s claims for
23   reimbursement of pre-tender defense fees, punitive damages, and Brandt fees. The
24   Court denied Scottsdale’s motion with respect to ISANA’s breach of contract claims
25   based on Scottsdale’s failure to provide an immediate defense upon tender and
26   Scottsdale’s failure to provide separate defenses to Mr. Walden sooner. The Court
27   also denied Scottsdale’s motion with respect to ISANA’s bad faith claim as related to
28   these breaches. In its ruling, the Court made the following factual findings:
                                                 9
                                     TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                     CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 14 of 26 Page ID
                                 #:3591


 1
                      On April 11, 2018, the Court issued an Order requiring
 2                    [Scottsdale] to provide Walden with separate counsel.
                      ECF No. 50. This Order was predicated on the March 14
 3                    USAO Letter, identifying Walden as a person of interest in
                      the Federal Investigation. Id. at 22:1-9; AOE Ex. 12.
 4                    Consequently, as of March 15, 2017, when Defendant
                      received the March 14 USAO Letter, Defendant had a
 5                    duty to assign separate counsel to Walden.
 6                                          *       *       *
 7                    [A]s this Court held in its April 11, 2018 Order, “[a]
                      person of interest potentially would have a personal
 8                    interest adverse to the other insureds’ corporate interest.”
                      Order at 22:7-9. Thus, Walden was entitled to his own
 9                    separate counsel, not counsel shared with other persons
                      of interest.
10

11   (ECF No. 118 at 20:1-8 and 20:13-18 (emphasis added).)
12           On April 2, 2019 the parties submitted their respective proposed witness lists
13   and, consistent with its expert disclosure, Scottsdale identified only a single expert
14   witness and the scope of his testimony was limited to claims handling (not ISANA’s
15   defense fees).
16           On April 30, 2019, the Court issued its approved Final Pretrial Conference
17   Order, in which the following facts are deemed admitted and require no proof:
18                    (a) Scottsdale issued to ISANA a Business and
                      Management Indemnity Policy for the period of July 1,
19                    2016 to July 1, 2017 (the “Policy”).
20                    (b) ISANA and its board members are insureds under the
                      Policy.
21
                      (c) On January 23, 2017, the United States Attorney’s
22                    Office (“USAO”) issued three search and seizure warrants
                      (the “Warrants”) at locations affiliated with ISANA in
23                    matters captioned In the Matter of the Search of 3475
                      Meier Street, Los Angeles, CA 90066 (Case No.
24                    17MJ0015), In The Matter of the Search of 3415 South
                      Sepulveda Boulevard, Suites 570 and 580, Los Angeles,
25                    California 90034 (Case No. 17MJ00113), and In The
                      Matter of the Search of 2069 West Slauson Avenue, Los
26                    Angeles, California 90047 (Case No. 17MJ00114), all in
                      the United States District Court, Central District of
27                    California (the “Federal Investigation”).
28
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                                        TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                        CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 15 of 26 Page ID
                                 #:3592


 1                    (d) On January 25, 2017, the USAO executed the
                      Warrants.
 2
                      (e) ISANA notified Scottsdale of the Warrants and
 3                    Federal Investigation no later than February 7, 2017.
 4                    (f) On March 14, 2017, the USAO identified a potential
                      conflict of interest between and among ISANA and certain
 5                    ISANA–related individuals, including Dana Walden.
 6                    (g) On March 14, 2017, the USAO identified twenty
                      persons of interest, including Dana Walden.
 7
                      (h) On March 15, 2017, ISANA provided Scottsdale with
 8                    a copy of the USAO’s March 14, 2017 letter identifying
                      the potential conflicts of interest.
 9
                      (i) At all relevant times, Dana Walden was a board
10                    member of ISANA.
11                    (j) On March 14, 2017, Scottsdale issued its written
                      coverage position.
12
                      (k) On April 11, 2018, the Court held that ISANA was not
13                    entitled to the appointment of Cumis counsel and that four
                      of ISANA’s five board members were not each entitled to
14                    the appointment of separate counsel.
15                    (l) On April 11, 2018, the Court held that Dana Walden
                      was entitled to the appointment of separate defense
16                    counsel by Scottsdale for the Federal Investigation.
17                    (m) On April 19, 2018, Scottsdale offered Dana Walden
                      his own separate defense counsel for the Federal
18                    Investigation.
19                    (n) On June 8, 2018 Dana Walden agreed to accept
                      defense counsel appointed by Scottsdale.
20
                      (o) Scottsdale has not reimbursed the defense fees and
21                    costs incurred by ISANA in defending against the Federal
                      Investigation between at least February 7, 2017 and March
22                    14, 2017.
23                    (p) Scottsdale has not reimbursed the defense fees and
                      costs incurred by ISANA in providing a separate defense
24                    to board member Dana Walden against the Federal
                      Investigation between at least March 14, 2017 and June 8,
25                    2018.
26   (ECF Doc. 140 [“Pretrial Conf. Order”] at p. 3:1 – 4:16.)
27
28
                                                    11
                                        TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                        CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 16 of 26 Page ID
                                 #:3593


 1   III.    ISANA WILL PREVAIL ON ITS CLAIMS FOR BREACH OF
 2           CONTRACT AND BREACH OF THE IMPLIED COVENANT OF
 3           GOOD FAITH AND FAIR DEALING (BAD FAITH)
 4           Following this Court’s two summary judgment rulings, the claims remaining
 5   to be tried to the jury are:
 6           •        ISANA’s breach of contract claim regarding Scottsdale’s failure to
 7                    reimburse ISANA’s defense fees and costs incurred between tender and
 8                    Scottsdale agreeing to appoint defense counsel to ISANA and its board
 9                    members.
10           •        ISANA’s breach of contract claim regarding Scottsdale’s failure to
11                    reimburse ISANA’s defense fees and costs incurred between the
12                    USAO’s identification of a potential conflict of interest and naming of
13                    Mr. Walden as a person of interest and Scottsdale’s appointment of
14                    separate defense counsel for Mr. Walden.
15           •        ISANA’s breach of the implied covenant of good faith and fair dealing
16                    (bad faith) claim regarding Scottsdale’s conduct with respect to the
17                    above breaches.
18           A.       ISANA’s Breach of Contract Claims
19           Based on little more than the facts already stipulated to by the parties, ISANA
20   will prevail at trial on its claims that Scottsdale breached the Policy. To prove
21   Scottsdale is liable for breach of the Policy, ISANA must establish the following:
22                    1. That ISANA suffered a loss, all or part of which was
23                       covered under an insurance policy with Scottsdale;
24                    2. That Scottsdale was notified of the loss as required by
25                       the policy; and
26                    3. The amount of the covered loss that Scottsdale failed to
27                       pay.
28   (See Judicial Council of California, Civil Jury Instructions (“CACI”) 2300)
                                                       12
                                           TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                           CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 17 of 26 Page ID
                                 #:3594


 1           Here, the Policy obligates Scottsdale to provide the Insureds with an
 2   immediate and unconflicted defense of the Warrants and Federal Investigation.
 3   (Policy at pp. 4, 6, 14-15.) Moreover, the Policy obligates Scottsdale to pay defense
 4   fees and costs incurred in response to the Warrants and Federal Investigation in
 5   addition to the policy limits. (Policy at pp. 6 & 18.) It is admitted and deemed
 6   established that Scottsdale issued ISANA the Policy, under which ISANA and its
 7   board members are Insureds. (ECF No. 140 [Pretrial Conf. Order] at ¶¶ 5(a) and
 8   5(b), p. 3:1-4.) It is also admitted and deemed established that ISANA tendered the
 9   Federal Investigation to Scottsdale no later than February 7, 2017, and that
10   Scottsdale has not made a single payment to ISANA on that claim. (Id. at ¶¶ 5(e),
11   5(o), and 5(p), pp. 3:15-16 and 4:11-16.)
12                    1.   Scottsdale Breached the Policy by Failing to Pay ISANA’s
13                         Defense Fees Incurred between ISANA’s Tender and
14                         Scottsdale’s Acceptance of a Defense
15           Scottsdale failed to offer a defense immediately upon ISANA’s tender and has
16   not compensated ISANA for any of the defense fees ISANA incurred up through the
17   time Scottsdale ultimately agreed to provide a defense. “The defense duty arises
18   upon tender of a potentially covered claim and lasts until the underlying lawsuit is
19   concluded, or until it has been shown that there is no potential for coverage.”
20   Scottsdale Ins. Co. v. MV Transp., 36 Cal.4th 643, 655 (2005).                     “To defend
21   meaningfully, the insurer must defend immediately.                 [Citation.]      To defend
22   immediately, it must defend entirely.” Buss v. Superior Court, 16 Cal.4th 35, 49
23   (1997). Liability for costs arises the moment the defense is tendered—it does not
24   matter whether there is ultimately a duty to indemnify. Montgomery Ward & Co.,
25   Inc. v. Imperial Cas. & Indem. Co., 81 Cal.App.4th 356, 373 (2000). “Imposition of
26   an immediate duty to defend is necessary to afford the insured what it is entitled to:
27   the full protection of a defense on its behalf.” Montrose Chem. Corp. of Calif. v.
28   Superior Court, 6 Cal.4th 287, 295 (1993).
                                                  13
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 18 of 26 Page ID
                                 #:3595


 1           Upon tender, the insurer must mount and fund a defense to avoid, or minimize
 2   liability. Buss, 16 Cal.4th at 46. “Once the defense duty attaches, the insurer is
 3   obligated to defend against all of the claims involved in the action, both covered and
 4   noncovered, until the insurer produces undeniable evidence supporting an allocation
 5   of a specific portion of the defense costs to a noncovered claim.” Horace Mann Ins.
 6   Co. v. Barbara B., 4 Cal.4th 1076, 1081 (1993).                 If the duty to defend is
 7   extinguished, it is extinguished prospectively and not retroactively—the insurer still
 8   had a duty to defend and is liable for those costs. See Buss, 16 Cal.4th at 46; see
 9   also, Mulhearn v. Lawyers Title Ins. Corp., 2014 WL 213554 (insurer obligated to
10   pay attorneys’ fees incurred in the six weeks between tender and acceptance).
11           Here, ISANA tendered the Federal Investigation to Scottsdale on February 7,
12   2017, but Scottsdale did not offer a defense to ISANA until March 7, 2017.
13   Scottsdale has argued it was told “there was nothing to do” at the time, but this is not
14   supported by admissible evidence and is in fact contradicted by Scottsdale’s own
15   claims notes. Regardless, it does not excuse Scottsdale’s obligations under the
16   Policy. Scottsdale remains obligated to pay defense fees incurred since tender, and
17   cannot avoid its obligation by manufacturing a basis to delay its own compliance.
18           ISANA continued to incur defense fees through the time Scottsdale accepted
19   its defense obligations. “Generally, the insured, as the party seeking relief, carries
20   the burden of proving the amount of costs incurred in defense of an action.” State v.
21   Pac. Indem. Co., 63 Cal.App.4th 1535, 1548 (1998) (citing Aerojet-General Corp. v.
22   Transport Indemnity Co., 17 Cal.4th 38, 64 (1997)). However, when the insurer is in
23   breach of the policy, the fees incurred by the insured are presumed reasonable and
24   necessary, and the insurer carries the burden of proving they are not. Id. at 1548-49
25   (“By contrast, in the exceptional case, wherein the insurer has breached its duty to
26   defend, it is the insured that must carry the burden of proof on the existence and
27   amount of the ... expenses, which are then presumed to be reasonable and necessary
28   as defense costs, and it is the insurer that must carry the burden of proof that they are
                                                 14
                                     TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                     CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 19 of 26 Page ID
                                 #:3596


 1   in fact unreasonable or unnecessary.”) (quoting Aerojet-General Corp., 17 Cal.4th at
 2   64)) (emphasis added). In other words, upon a finding of breach by Scottsdale, the
 3   full amount of ISANA’s fees and costs between the time of tender and Scottsdale’s
 4   acceptance a month later will be owed without allocation and deduction.
 5           Here, by both the stipulated facts and this Court’s prior findings of fact,
 6   Scottsdale is unquestionably in breach of the Policy. It is admitted that Scottsdale
 7   was on notice of the Federal Investigation since at least February 7, 2017. It is
 8   further admitted that Scottsdale has not reimbursed ISANA for any defense fees
 9   incurred since that time. Under these facts, the fees incurred by ISANA between
10   tender and acceptance of a defense are presumed reasonable and necessary.
11   Scottsdale will be unable to carry its burden of rebutting this presumption, as it has
12   failed to designate an expert witness on the issue of the reasonableness of ISANA’s
13   defense fees. As such, ISANA will prevail in recovering the full amount of defense
14   fees incurred between tender and acceptance at trial.
15                    2.   Scottsdale Breached the Policy by Failing to Assign Separate
16                         Counsel to Mr. Walden Until Ordered by this Court, and by
17                         Failing to Reimburse Celerity for the Related Defense Fees
18                         Incurred
19           Similarly, ISANA will prevail on the other component of its breach of contract
20   claim based on little more than the stipulated facts and this Court’s prior factual
21   findings. As this Court already found, “as of March 15, 2017, when Defendant
22   received the March 14 USAO Letter, Defendant had a duty to assign separate
23   counsel to Walden.” (ECF No. 118 at 20:1-8.) As this Court also found, “Walden
24   was entitled to his own separate counsel, not counsel shared with other persons of
25   interest.” (Id. at 20:13-18.) Nevertheless, Scottsdale did not offer Mr. Walden his
26   own separate counsel until after this Court ordered it to do so in April 2018. (ECF
27   No. 140 at ¶¶ 5(l) and 5(m), p. 4:4-8.) Scottsdale has admitted, without the need for
28   proof, that it “has not reimbursed the defense fees and costs incurred by ISANA in
                                                  15
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 20 of 26 Page ID
                                 #:3597


 1   providing a separate defense to board member Dana Walden against the Federal
 2   Investigation between at least March 14, 2017 and June 8, 2018.” (ECF No. 140 at
 3   ¶ 5(p), p. 4:14-16.)
 4           Under these facts, Scottsdale was per se in breach of the Policy from at least
 5   March 15, 2017 through April 19, 2018, and indeed through June 8, 2018 when Mr.
 6   Walden’s transition to separate counsel appointed by Scottsdale occurred. As before,
 7   because Scottsdale was in breach, all defense fees incurred by ISANA for Mr.
 8   Walden’s defense during this time period are presumed reasonable and necessary.
 9   Pac. Indem. Co., 63 Cal.App.4th at 1548-49; Aerojet-General Corp., 17 Cal.4th at
10   64.    And as before, Scottsdale’s failure to designate an expert on the issue of
11   ISANA’s defense fees is fatal to its ability to satisfy its burden of rebutting these
12   fees. Accordingly, ISANA will prevail in recovering the full amount of all defense
13   fees incurred in connection with Mr. Walden’s defense from March 15, 2017 through
14   June 8, 2018 at trial.
15           B.       ISANA’s Claims for Breach of the Implied Covenant of Good Faith
16                    and Fair Dealing (Bad Faith)
17           As with its breach of contract claim, ISANA will establish Scottsdale’s bad
18   faith in handling ISANA’s claims related to the above breaches based on little more
19   than the stipulated facts. To prove bad faith, ISANA must establish the following:
20                    1. That ISANA suffered a loss covered under an insurance
21                       policy with Scottsdale;
22                    2. That Scottsdale was notified of the loss;
23                    3. That Scottsdale unreasonably failed to pay/delayed
24                       payment of policy benefits;
25                    4. That ISANA was harmed; and
26                    5. That Scottsdale’s failure to pay/delay in payment of
27                       policy benefits was a substantial factor in causing
28                       ISANA’s harm.
                                                     16
                                         TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                         CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 21 of 26 Page ID
                                 #:3598


 1   (CACI 2331)
 2                    1.   Scottsdale’s Refusal to Reimburse ISANA for Defense Fees
 3                         Incurred since Tender Constitutes Bad Faith
 4           It is undisputed that Scottsdale’s defense obligations commenced immediately
 5   when ISANA tendered, and that Scottsdale has failed and refused to reimburse
 6   ISANA for any defense fees incurred between ISANA’s tender and Scottsdale’s
 7   acceptance of the defense.      Over two years have passed without any effort on
 8   Scottsdale’s part to reimburse ISANA for these covered losses. Instead, Scottsdale
 9   has blamed its own insured for Scottsdale’s failure to appoint defense counsel earlier.
10   ISANA is confident a jury will agree that Scottsdale’s unreasonable failure and/or
11   delay in paying ISANA any of its defense fees and costs amounts to bad faith.
12           As a result of Scottsdale’s unreasonable failure to pay ISANA policy benefits,
13   ISANA was forced to divert resources from its schools simply to pay the defense for
14   which Scottsdale was obligated under the Policy. This had reverberating effects
15   throughout ISANA’s business, including the closing of one of its schools. ISANA is
16   confident a jury will hold Scottsdale accountable for all the harm caused by its
17   unreasonable failure to pay Policy benefits.
18                    2.   Scottsdale’s Refusal to Appoint Separate Counsel to Mr.
19                         Walden and Reimburse ISANA for Any Related Defense Fees
20                         Constitutes Bad Faith
21           Likewise, Scottsdale’s failure and refusal to offer Dana Walden separate
22   defense counsel for over a year was similarly unreasonable. Indeed, during that
23   period of time Scottsdale actively argued it had no obligation to do so, and scoffed at
24   ISANA’s repeated requests for separate counsel for Mr. Walden.
25           Moreover, Scottsdale’s failure to reimburse any defense fees incurred by
26   ISANA on behalf of Board Member Dana Walden is similarly unreasonable. Again,
27   this had reverberating effects throughout ISANA’s business, as described above.
28   The jury will be very interested in hearing how prejudicial an insurer’s refusal to
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                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 22 of 26 Page ID
                                 #:3599


 1   honor its coverage obligations to is insured can be—particularly where that refusal
 2   results in reducing resources and programs intended to benefit students in some of
 3   Los Angeles’ most underserved communities.
 4   IV.     SCOTTSDALE’S PROFFERED DEFENSES ARE UNAVAILING
 5           Although Scottsdale’s answer recites seventeen affirmative defenses,
 6   Scottsdale’s Memorandum of Contentions of Fact and Law reduces this list to nine
 7   affirmative defenses Scottsdale intends to prove at trial: (1) mitigation of damages;
 8   (2) Policy terms; (3) condition precedents; (4) exclusion for “punitive damages”
 9   under the Policy’s “Loss” exclusion; (5) the Policy’s “prior written consent”
10   provision; (6) equitable doctrines of waiver, estoppel, and unclean hands; (7)
11   Scottsdale “acted reasonably and in good faith”; (8) ISANA’s defense costs incurred
12   were “neither ‘reasonable’ nor ‘necessary’ fees, costs, and expenses”; and (9)
13   genuine dispute as to coverage. Scottsdale will not be able to carry its burden of
14   establishing any of these alleged affirmative defenses.
15           1.       Mitigation of Damages
16           Scottsdale has failed to articulate how ISANA has not mitigated its damages in
17   this case. ISANA was forced to fund its defense and the defense of Mr. Walden for
18   the Federal Investigation following Scottsdale’s delay in accepting a defense for
19   ISANA, delay in appointing separate counsel for Mr. Walden and Scottsdale’s
20   admitted refusal to reimburse any defense fees. It is undisputed that Scottsdale has
21   failed and refused to reimburse ISANA for these fees.
22           ISANA’s attorney fee expert has opined that the fees incurred by ISANA were
23   reasonable and necessary in the defense of the Federal Investigation. Scottsdale has
24   not designated an expert to offer contradictory expert opinion. Moreover, ISANA’s
25   and Mr. Walden’s decision to waive the potential conflict up until such time when
26   Scottsdale finally honored its coverage obligations and offered Mr. Walden a
27   separate defense actually mitigated damages, as it would have been more costly for
28
                                                  18
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 23 of 26 Page ID
                                 #:3600


 1   multiple firms to duplicate efforts if ISANA had retained separate counsel for Mr.
 2   Walden during that period of time.
 3            2.      Policy Terms
 4            Scottsdale has not articulated how invoking the terms of the Policy amounts to
 5   an affirmative defense to ISANA’s claims. As stated above, and recognized by this
 6   Court in its past summary judgment rulings, Scottsdale was obligated under the
 7   Policy to provide a defense for the Federal Investigation to ISANA and Mr. Walden
 8   separately. Scottsdale’s vague reference to various terms of the Policy in the abstract
 9   is insufficient to excuse Scottsdale’s coverage obligations.
10            3.      Condition Precedents
11            Again, Scottsdale alleges generally that ISANA has failed to satisfy conditions
12   precedent, but fails to identify any such condition precedent. To the extent any such
13   condition precedent is encompassed within another affirmative defense asserted by
14   Scottsdale, it will be addressed in the corresponding section herein.
15            4.      “Loss” Exclusion for Punitive Damages
16            Scottsdale’s Memorandum again cites to the entire “Loss” exclusion under the
17   Policy, despite Scottsdale having on numerous occasions represented that it has
18   reserved only as to the “Punitive Damages” component of the “Loss” exclusion. As
19   noted by this Court in its first summary judgment ruling on ISANA’s prior Cumis
20   claim:
21                    Defendant clarified in a June 2, 2017 letter to [ISANA]
                      that this reservation extends only to “the lack of coverage
22                    for punitive damages.” Defendant has therefore expressly
                      withdrawn its defense pursuant to this definition to the
23                    extent it is predicated on the exclusion for “matters
                      uninsurable under the laws.”
24

25   (ECF No. 50 at p. 16:16-22.)
26            Scottsdale’s continued attempt to invoke the entirety of the “Loss” exclusion
27   is contrary to its past representations, which this Court relied upon in denying
28   ISANA’s Cumis claim. It is further indicative of Scottsdale’s bad faith.
                                                    19
                                        TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                        CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 24 of 26 Page ID
                                 #:3601


 1           ISANA has sought to exclude via motion in limine (No. 4 ) any evidence
 2   relating to this exclusion. To the extent Scottsdale intends to rely on the “Loss”
 3   exclusion for “punitive damages,” it is entirely inapplicable here, as ISANA is
 4   seeking reimbursement of defense costs—not punitive damages. The underlying
 5   Federal Investigation does not concern punitive damages.
 6           5.       “Prior Written Consent” Policy Provision
 7           To the extent Scottsdale contends ISANA was required to obtain its consent
 8   prior to incurring recoverable defense fees, Scottsdale’s arguments fail for a number
 9   of reasons. Preliminarily, Scottsdale’s concurrent breach of the Policy waives any
10   such requirement as a matter of law. See Jamestown Builders, Inc. v. Gen. Star
11   Indem. Co., 77 Cal. App. 4th 341, 346 (1999); Gribaldo, Jacobs, Jones & Assocs. v.
12   Agrippina Versicherunges A., 3 Cal. 3d 434, 449 (1970).
13           Moreover, the Policy prohibited Scottsdale from “unreasonably” withholding
14   consent to fees and costs. Scottsdale has failed to provide any basis, much less a
15   reasonable one, for its refusal to appoint counsel sooner for ISANA and Mr. Walden.
16   As such, it was entirely reasonable and necessary for ISANA to incur defense fees
17   and costs to defend against the Federal Investigation at all times prior to Scottsdale
18   honoring its coverage obligations.
19           6.       Waiver, Estoppel, and Unclean Hands
20           Scottsdale fails to articulate how any of these equitable doctrines preclude
21   ISANA’s claims here. It is undisputed that Scottsdale failed to offer a defense to
22   ISANA prior to March 7, 2017, and failed to offer a separate defense to Mr. Walden
23   until April 2018. At no time did ISANA intentionally give up a known right with
24   respect to its claims to recover defense fees incurred in connection with each, and in
25   fact has actively pursued these claims throughout this lawsuit.                 Consequently,
26   ISANA is similarly not estopped from continuing to pursue these claims at trial.
27           Finally, Scottsdale’s reliance on the unclean hands doctrine is unintelligible,
28   and Scottsdale offers no explanation as to its applicability here.
                                                  20
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 25 of 26 Page ID
                                 #:3602


 1           7.       Scottsdale’s Alleged “Reasonable and Good Faith” Conduct
 2           Scottsdale has asserted as an “affirmative defense” that it “acted reasonably
 3   and in good faith in handling [ISANA’s] claim.” First, this is not an affirmative
 4   defense. Second, it is directly contrary to Scottsdale’s unreasonable failure and
 5   delay in appointing defense counsel sooner for ISANA and Mr. Walden, as well as
 6   Scottsdale’s unreasonable failure to reimburse ISANA for corresponding defense
 7   fees incurred, as set forth in greater detail above.
 8           8.       ISANA’s Reasonable and Necessary Fees
 9           Scottsdale argues the unreimbursed defense fees incurred by ISANA were
10   neither reasonable nor necessary. Scottsdale will not be able to carry its burden as to
11   either descriptor. ISANA’s witnesses will testify as to the reasonable and necessary
12   nature of the defense fees incurred to defend against the Federal Investigation—fees
13   ISANA was forced to incur because Scottsdale failed to honor its coverage
14   obligations.      ISANA’s attorney fee expert will also offer testimony as to the
15   reasonable and necessary nature of these fees. In contrast, Scottsdale has failed to
16   designate an expert on the issue of ISANA’s defense fees, and will not be able to
17   carry its burden at trial to rebut the presumptive reasonableness and necessity of all
18   defense fees without allocation or deduction. See Pac. Indem. Co., 63 Cal.App.4th
19   at 1548-49; Aerojet-General Corp., 17 Cal.4th at 64.
20           ISANA has sought to exclude testimony from Scottsdale’s expert regarding
21   the defense fees and costs via motion in limine (No. 1) as Scottsdale failed to
22   designate an expert witness to testify as to the reasonableness of ISANA’s defense
23   fees and costs, further negating the viability of this affirmative defense
24           9.       Genuine Dispute Doctrine
25           Finally, Scottsdale has alleged there was a “genuine dispute” as to coverage
26   for Plaintiff’s claims. Again, Scottsdale will be unable to carry its burden. First,
27   Scottsdale itself has acknowledged a defense obligation owed to ISANA for the
28   Federal Investigation, despite refusing to reimburse ISANA for defense fees incurred
                                                  21
                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
Case 2:17-cv-03239-RSWL-JC Document 171 Filed 05/28/19 Page 26 of 26 Page ID
                                 #:3603


 1   from the time ISANA tendered to when Scottsdale first offered to appoint defense
 2   counsel
 3           Moreover, as this Court conclusively held, “as of March 15, 2017, when
 4   Defendant received the March 14 USAO Letter, Defendant had a duty to assign
 5   separate counsel to Walden,” and “Walden was entitled to his own separate counsel,
 6   not counsel shared with other persons of interest.” (ECF No. 118 at 20:1-8 and
 7   20:13-18.)       There is no “genuine dispute” as to Scottsdale’s abdication of its
 8   coverage obligations here.
 9   V.      CONCLUSION
10           The facts of this case and the applicable law relative thereto support a finding
11   in favor of ISANA on all claims. ISANA is confident the jury will find Scottsdale
12   liable for breach of contract and breach of the implied covenant of good faith and fair
13   dealing (bad faith), and award ISANA damages commensurate with all harm caused
14   by Scottsdale’s breaches.
15

16   DATED: May 28, 2019                        PROCOPIO, CORY, HARGREAVES &
                                                  SAVITCH LLP
17

18
                                                By: /s/ Cecilia O. Miller
19                                                  Cecilia O. Miller
                                                    Ryan C. Caplan
20                                                  William A. Smelko
                                                    Attorneys for Plaintiff
21                                                  ISANA, formerly known and having
                                                    appeared as Celerity Educational Group
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                                      TRIAL BRIEF OF PLAINTIFF ISANA (F/K/A CELERITY EDUCATIONAL GROUP)
     DOCS 3664355.7                                                      CASE NO. 2:17-CV-03239-RSWL-JC
